          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 1 of 16 Page ID #:406



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                  UNIVERSAL CITY STUDIOS LLC and
               15 NBCUNIVERSAL, LLC
               16
                                               UNITED STATES DISTRICT COURT
               17
                                          CENTRAL DISTRICT OF CALIFORNIA
               18
                                                     WESTERN DIVISION
               19
                    STACY FREYRE,                                 Case No.: 2:20-cv-04562-GW-SK
               20
                                  Plaintiff,
               21                                                  STIPULATED PROTECTIVE
                             v.                                    ORDER
               22
                    NBC UNIVERSAL, and DOES 1-10,
               23                                                 (Removed from Los Angeles Superior
                                  Defendants.
               24                                                 Court Case No. 20STCV07972)

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                                                  STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 2 of 16 Page ID #:407



                1 1.         A.    PURPOSES AND LIMITATIONS
                2            Discovery in this action is likely to involve production of confidential,
                3 proprietary, or private information for which special protection from public
                4 disclosure and from use for any purpose other than prosecuting this litigation may
                5 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                6 enter the following Stipulated Protective Order. The parties acknowledge that this
                7 Order does not confer blanket protections on all disclosures or responses to
                8 discovery and that the protection it affords from public disclosure and use extends
                9 only to the limited information or items that are entitled to confidential treatment
               10 under the applicable legal principles. The parties further acknowledge, as set forth
               11 in Section 12.3, below, that this Stipulated Protective Order does not entitle them
               12 to file confidential information under seal; Civil Local Rule 79-5 sets forth the
               13 procedures that must be followed and the standards that will be applied when a
               14 party seeks permission from the court to file material under seal.
               15
               16            B.    GOOD CAUSE STATEMENT
               17            This action is likely to involve medical records and medical documents,
               18 trade secrets, customer and pricing lists and other valuable research, development,
               19 commercial, financial, technical and/or proprietary information for which special
               20 protection from public disclosure and from use for any purpose other than
               21 prosecution of this action is warranted. Such confidential and proprietary materials
               22 and information consist of, among other things, confidential business or financial
               23 information, information regarding confidential business practices, or other
               24 confidential research, development, or commercial information (including
               25 information implicating privacy rights of third parties), information otherwise
               26 generally unavailable to the public, or which may be privileged or otherwise
               27 protected from disclosure under state or federal statutes, court rules, case decisions,
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                                                STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 3 of 16 Page ID #:408



                1 or common law. Accordingly, to expedite the flow of information, to facilitate the
                2 prompt resolution of disputes over confidentiality of discovery materials, to
                3 adequately protect information the parties are entitled to keep confidential, to
                4 ensure that the parties are permitted reasonable necessary uses of such material in
                5 preparation for and in the conduct of trial, to address their handling at the end of
                6 the litigation, and serve the ends of justice, a protective order for such information
                7 is justified in this matter. It is the intent of the parties that information will not be
                8 designated as confidential for tactical reasons and that nothing be so designated
                9 without a good faith belief that it has been maintained in a confidential, non-public
               10 manner, and there is good cause why it should not be part of the public record of
               11 this case.
               12
               13 2.         DEFINITIONS
               14            2.1   Action: this pending federal law suit.
               15            2.2   Challenging Party: a Party or Non-Party that challenges the
               16 designation of information or items under this Order.
               17            2.3   “CONFIDENTIAL” Information or Items: information (regardless of
               18 how it is generated, stored or maintained) or tangible things that qualify for
               19 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
               20 the Good Cause Statement.
               21            2.4   “CONFIDENTIAL – ATTORNEYS’ EYES ONLY”: information that
               22 has been designated as “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” by a
               23 Party, upon reasonable belief that disclosure of information to the other Party creates
               24 a substantial risk of serious injury to financial, privacy or other interests, and that
               25 risk cannot be avoided by less restrictive means.
               26            2.5   Counsel: Outside Counsel of Record and House Counsel (as well as
               27 their support staff).
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                                                 STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 4 of 16 Page ID #:409



                1            2.6   Designating Party: a Party or Non-Party that designates information or
                2 items that it produces in disclosures or in responses to discovery as
                3 “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY.”
                4            2.7   Disclosure or Discovery Material: all items or information, regardless
                5 of the medium or manner in which it is generated, stored, or maintained (including,
                6 among other things, testimony, transcripts, and tangible things), that are produced
                7 or generated in disclosures or responses to discovery in this matter.
                8            2.8   Expert: a person with specialized knowledge or experience in a matter
                9 pertinent to the litigation who has been retained by a Party or its counsel to serve
               10 as an expert witness or as a consultant in this Action.
               11            2.9   House Counsel: attorneys who are employees of a party to this Action.
               12 House Counsel does not include Outside Counsel of Record or any other outside
               13 counsel.
               14            2.10 Non-Party: any natural person, partnership, corporation, association,
               15 or other legal entity not named as a Party to this action.
               16            2.11 Outside Counsel of Record: attorneys who are not employees of a
               17 party to this Action but are retained to represent or advise a party to this Action
               18 and have appeared in this Action on behalf of that party or are affiliated with a law
               19 firm which has appeared on behalf of that party, and includes support staff.
               20            2.12 Party: any party to this Action, including all of its officers, directors,
               21 employees, consultants, retained experts, and Outside Counsel of Record (and their
               22 support staffs).
               23            2.13 Producing Party: a Party or Non-Party that produces Disclosure or
               24 Discovery Material in this Action.
               25            2.14 Professional Vendors: persons or entities that provide litigation
               26 support services (e.g., photocopying, videotaping, translating, preparing exhibits or
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                                                  STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 5 of 16 Page ID #:410



                1 demonstrations, and organizing, storing, or retrieving data in any form or medium)
                2 and their employees and subcontractors.
                3            2.15 Protected Material: any Disclosure or Discovery Material that is
                4 designated as “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES
                5 ONLY.”
                6            2.16 Receiving Party: a Party that receives Disclosure or Discovery
                7 Material from a Producing Party.
                8
                9 3.         SCOPE
               10            The protections conferred by this Stipulation and Order cover not only
               11 Protected Material (as defined above), but also (1) any information copied or
               12 extracted from Protected Material; (2) all copies, excerpts, summaries, or
               13 compilations of Protected Material; and (3) any testimony, conversations, or
               14 presentations by Parties or their Counsel that might reveal Protected Material.
               15            Any use of Protected Material at trial shall be governed by the orders of the
               16 trial judge. This Order does not govern the use of Protected Material at trial.
               17
               18 4.         DURATION
               19            Even after final disposition of this litigation, the confidentiality obligations
               20 imposed by this Order shall remain in effect until a Designating Party agrees
               21 otherwise in writing or a court order otherwise directs. Final disposition shall be
               22 deemed to be the later of (1) dismissal of all claims and defenses in this Action,
               23 with or without prejudice; and (2) final judgment herein after the completion and
               24 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
               25 including the time limits for filing any motions or applications for extension of
               26 time pursuant to applicable law.
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                                                  STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 6 of 16 Page ID #:411



                1 5.         DESIGNATING PROTECTED MATERIAL
                2            5.1   Exercise of Restraint and Care in Designating Material for Protection.
                3 Each Party or Non-Party that designates information or items for protection under
                4 this Order must take care to limit any such designation to specific material that
                5 qualifies under the appropriate standards. The Designating Party must designate for
                6 protection only those parts of material, documents, items, or oral or written
                7 communications that qualify so that other portions of the material, documents,
                8 items, or communications for which protection is not warranted are not swept
                9 unjustifiably within the ambit of this Order.
               10            Mass, indiscriminate, or routinized designations are prohibited. Designations
               11 that are shown to be clearly unjustified or that have been made for an improper
               12 purpose (e.g., to unnecessarily encumber the case development process or to
               13 impose unnecessary expenses and burdens on other parties) may expose the
               14 Designating Party to sanctions.
               15            If it comes to a Designating Party’s attention that information or items that it
               16 designated for protection do not qualify for protection, that Designating Party must
               17 promptly notify all other Parties that it is withdrawing the inapplicable designation.
               18            5.2   Manner and Timing of Designations. Except as otherwise provided in
               19 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
               20 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
               21 under this Order must be clearly so designated before the material is disclosed or
               22 produced.
               23            Designation in conformity with this Order requires:
               24                  (a)    for information in documentary form (e.g., paper or electronic
               25 documents, but excluding transcripts of depositions or other pretrial or trial
               26 proceedings), that the Producing Party affix at a minimum, the legend
               27 “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY”, to
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                                                  STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 7 of 16 Page ID #:412



                1 each page that contains protected material. If only a portion or portions of the
                2 material on a page qualifies for protection, the Producing Party also must clearly
                3 identify the protected portion(s) (e.g., by making appropriate markings in the
                4 margins).
                5            A Party or Non-Party that makes original documents available for inspection
                6 need not designate them for protection until after the inspecting Party has indicated
                7 which documents it would like copied and produced. During the inspection and
                8 before the designation, all of the material made available for inspection shall be
                9 deemed “CONFIDENTIAL—ATTORNEYS’ EYES ONLY.” After the inspecting
               10 Party has identified the documents it wants copied and produced, the Producing
               11 Party must determine which documents, or portions thereof, qualify for protection
               12 under this Order. Then, before producing the specified documents, the Producing
               13 Party must affix the “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’
               14 EYES ONLY” legend to each page that contains Protected Material. If only a
               15 portion or portions of the material on a page qualifies for protection, the Producing
               16 Party also must clearly identify the protected portion(s) (e.g., by making
               17 appropriate markings in the margins).
               18                  (b)   for testimony given in depositions that the Designating Party
               19 identify the Disclosure or Discovery Material on the record, before the close of the
               20 deposition all protected testimony.
               21                  (c)   for information produced in some form other than documentary
               22 and for any other tangible items, that the Producing Party affix in a prominent
               23 place on the exterior of the container or containers in which the information is
               24 stored the legend “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’
               25 EYES ONLY.”            If only a portion or portions of the information warrants
               26 protection, the Producing Party, to the extent practicable, shall identify the
               27 protected portion(s).
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                                                STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 8 of 16 Page ID #:413



                1            5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
                2 failure to designate qualified information or items does not, standing alone, waive
                3 the Designating Party’s right to secure protection under this Order for such
                4 material. Upon timely correction of a designation, the Receiving Party must make
                5 reasonable efforts to assure that the material is treated in accordance with the
                6 provisions of this Order.
                7
                8 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
                9            6.1   Timing of Challenges. Any Party or Non-Party may challenge a
               10 designation of confidentiality at any time that is consistent with the Court’s
               11 Scheduling Order.
               12            6.2   Meet and Confer. The Challenging Party shall initiate the dispute
               13 resolution process under Local Rule 37.1 et seq.
               14            6.3   The burden of persuasion in any such challenge proceeding shall be
               15 on the Designating Party. Frivolous challenges, and those made for an improper
               16 purpose (e.g., to harass or impose unnecessary expenses and burdens on other
               17 parties) may expose the Challenging Party to sanctions. Unless the Designating
               18 Party has waived or withdrawn the confidentiality designation, all parties shall
               19 continue to afford the material in question the level of protection to which it is
               20 entitled under the Producing Party’s designation until the Court rules on the
               21 challenge.
               22
               23 7.         ACCESS TO AND USE OF PROTECTED MATERIAL
               24            7.1   Basic Principles. A Receiving Party may use Protected Material that is
               25 disclosed or produced by another Party or by a Non-Party in connection with this
               26 Action only for prosecuting, defending, or attempting to settle this Action. Such
               27 Protected Material may be disclosed only to the categories of persons and under
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                                                 STIPULATED PROTECTIVE ORDER
                    12518794.2
          Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 9 of 16 Page ID #:414



                1 the conditions described in this Order. When the Action has been terminated, a
                2 Receiving Party must comply with the provisions of section 13 below (FINAL
                3 DISPOSITION).
                4            Protected Material must be stored and maintained by a Receiving Party at a
                5 location and in a secure manner that ensures that access is limited to the persons
                6 authorized under this Order.
                7            7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
                8 otherwise ordered by the court or permitted in writing by the Designating Party, a
                9 Receiving Party may disclose any information or item designated
               10 “CONFIDENTIAL” only to:
               11                  (a)    the Receiving Party’s Outside Counsel of Record in this Action,
               12 as well as employees of said Outside Counsel of Record to whom it is reasonably
               13 necessary to disclose the information for this Action;
               14                  (b)    the officers, directors, and employees (including House
               15 Counsel) of the Receiving Party to whom disclosure is reasonably necessary for
               16 this       Action,     and   who,    prior   to       receive   documents   designated   as
               17 “CONFIDENTIAL” or “CONFDIENTIAL—ATTORNEYS’ EYES ONLY,” have
               18 signed the “Acknowledgement and Agreement to Be Bound” that is attached
               19 hereto as Exhibit A;
               20                  (c)    Experts (as defined in this Order) of the Receiving Party to
               21 whom disclosure is reasonably necessary for this Action and who, prior to receive
               22 documents         designated    as    “CONFIDENTIAL”             or   “CONFDIENTIAL—
               23 ATTORNEYS’ EYES ONLY,” have signed the “Acknowledgment and Agreement
               24 to Be Bound” (Exhibit A);
               25                  (d)    the court and its personnel;
               26                  (e)    court reporters and their staff;
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                                                 STIPULATED PROTECTIVE ORDER
                    12518794.2
         Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 10 of 16 Page ID #:415



                1                  (f)   professional jury or trial consultants, mock jurors, and
                2 Professional Vendors to whom disclosure is reasonably necessary for this Action
                3 and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
                4 A);
                5                  (g)   the author or recipient of a document containing the
                6 information or a custodian or other person who otherwise possessed or knew the
                7 information;
                8                  (h)   during their depositions, witnesses, and attorneys for witnesses,
                9 in the Action to whom disclosure is reasonably necessary provided: (1) the
               10 deposing party requests that the witness sign the form attached as Exhibit 1 hereto;
               11 and (2) they will not be permitted to keep any confidential information unless they
               12 sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
               13 otherwise agreed by the Designating Party or ordered by the court. Pages of
               14 transcribed deposition testimony or exhibits to depositions that reveal Protected
               15 Material may be separately bound by the court reporter and may not be disclosed
               16 to anyone except as permitted under this Stipulated Protective Order; and
               17                  (i)   any mediator or settlement officer, and their supporting
               18 personnel, mutually agreed upon by any of the parties engaged in settlement
               19 discussions.
               20            7.3   Disclosure of “CONFIDENTIAL—ATTORNEYS’ EYES ONLY”
               21 Information or Items. Unless otherwise ordered by the court or permitted in
               22 writing by the Designating Party, a Receiving Party may disclose any information
               23 or item designated “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” only to
               24 persons listed in Paragraphs 7.2(a), 7.2(c), 7.2(d), 7.2(e), 7.2(f), 7.2(g), 7.2(h), and
               25 7.2(i).
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                                                STIPULATED PROTECTIVE ORDER
                    12518794.2
         Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 11 of 16 Page ID #:416



                1 8.         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                2 IN OTHER LITIGATION
                3            If a Party is served with a subpoena or a court order issued in other litigation
                4 that compels disclosure of any information or items designated in this Action as
                5 “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY,” that
                6 Party must:
                7                  (a)    promptly notify in writing the Designating Party. Such
                8 notification shall include a copy of the subpoena or court order;
                9                  (b)    promptly notify in writing the party who caused the subpoena
               10 or order to issue in the other litigation that some or all of the material covered by
               11 the subpoena or order is subject to this Protective Order. Such notification shall
               12 include a copy of this Stipulated Protective Order; and
               13                  (c)    cooperate with respect to all reasonable procedures sought to be
               14 pursued by the Designating Party whose Protected Material may be affected.
               15            If the Designating Party timely seeks a protective order, the Party served
               16 with the subpoena or court order shall not produce any information designated in
               17 this action as “CONFIDENTIAL” or “CONFIDENTIAL ATTORNEYS’ EYES
               18 ONLY” before a determination by the court from which the subpoena or order
               19 issued, unless the Party has obtained the Designating Party’s permission. The
               20 Designating Party shall bear the burden and expense of seeking protection in that
               21 court of its confidential material and nothing in these provisions should be
               22 construed as authorizing or encouraging a Receiving Party in this Action to
               23 disobey a lawful directive from another court.
               24
               25 9.         A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
               26 PRODUCED IN THIS LITIGATION
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                                                  STIPULATED PROTECTIVE ORDER
                    12518794.2
         Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 12 of 16 Page ID #:417



                1                (a)    The terms of this Order are applicable to information produced
                2 by a Non-Party in this Action and designated as “CONFIDENTIAL” or
                3 “CONFIDENTIAL—ATTORNEYES’ EYES ONLY.” Such information produced
                4 by Non-Parties in connection with this litigation is protected by the remedies and
                5 relief provided by this Order. Nothing in these provisions should be construed as
                6 prohibiting a Non-Party from seeking additional protections.
                7                (b)    In the event that a Party is required, by a valid discovery
                8 request, to produce a Non-Party’s confidential information in its possession, and
                9 the Party is subject to an agreement with the Non-Party not to produce the Non-
               10 Party’s confidential information, then the Party shall:
               11                       (1)   promptly notify in writing the Requesting Party and the
               12 Non-Party that some or all of the information requested is subject to a
               13 confidentiality agreement with a Non-Party;
               14                       (2)   promptly provide the Non-Party with a copy of the
               15 Stipulated Protective Order in this Action, the relevant discovery request(s), and a
               16 reasonably specific description of the information requested; and
               17                       (3)   make the information requested available for inspection
               18 by the Non-Party, if requested.
               19                (c)    If the Non-Party fails to seek a protective order from this court
               20 within 14 days of receiving the notice and accompanying information, the
               21 Receiving Party may produce the Non-Party’s confidential information responsive
               22 to the discovery request. If the Non-Party timely seeks a protective order, the
               23 Receiving Party shall not produce any information in its possession or control that
               24 is subject to the confidentiality agreement with the Non-Party before a
               25 determination by the court. Absent a court order to the contrary, the Non-Party
               26 shall bear the burden and expense of seeking protection in this court of its
               27 Protected Material.
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                                               STIPULATED PROTECTIVE ORDER
                    12518794.2
         Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 13 of 16 Page ID #:418



                1 10.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                2            If a Receiving Party learns that, by inadvertence or otherwise, it has
                3 disclosed Protected Material to any person or in any circumstance not authorized
                4 under this Stipulated Protective Order, the Receiving Party must immediately (a)
                5 notify in writing the Designating Party of the unauthorized disclosures, (b) use its
                6 best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
                7 the person or persons to whom unauthorized disclosures were made of all the terms
                8 of this Order, and (d) request such person or persons to execute the
                9 “Acknowledgment and Agreement to Be Bound” that is attached hereto as
               10 Exhibit A.
               11
               12 11.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
               13 PROTECTED MATERIAL
               14            When a Producing Party gives notice to Receiving Parties that certain
               15 inadvertently produced material is subject to a claim of privilege or other
               16 protection, the obligations of the Receiving Parties are those set forth in Federal
               17 Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
               18 whatever procedure may be established in an e-discovery order that provides for
               19 production without prior privilege review. Pursuant to Federal Rule of Evidence
               20 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
               21 of a communication or information covered by the attorney-client privilege or
               22 work product protection, the parties may incorporate their agreement in the
               23 stipulated protective order submitted to the court.
               24
               25 12.        MISCELLANEOUS
               26            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
               27 person to seek its modification by the Court in the future.
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                                                 STIPULATED PROTECTIVE ORDER
                    12518794.2
         Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 14 of 16 Page ID #:419



                1            12.2 Right to Assert Other Objections. By stipulating to the entry of this
                2 Protective Order no Party waives any right it otherwise would have to object to
                3 disclosing or producing any information or item on any ground not addressed in
                4 this Stipulated Protective Order. Similarly, no Party waives any right to object on
                5 any ground to use in evidence of any of the material covered by this Protective
                6 Order.
                7            12.3 Filing Protected Material. A Party that seeks to file under seal any
                8 Protected Material must comply with Civil Local Rule 79-5. Protected Material
                9 may only be filed under seal pursuant to a court order authorizing the sealing of the
               10 specific Protected Material at issue. If a Party’s request to file Protected Material
               11 under seal is denied by the court, then the Receiving Party may file the information
               12 in the public record unless otherwise instructed by the court.
               13
               14 13.        FINAL DISPOSITION
               15            After the final disposition of this Action, as defined in paragraph 4, within
               16 60 days of a written request by the Designating Party, each Receiving Party must
               17 return all Protected Material to the Producing Party or destroy such material. As
               18 used in this subdivision, “all Protected Material” includes all copies, abstracts,
               19 compilations, summaries, and any other format reproducing or capturing any of the
               20 Protected Material. Whether the Protected Material is returned or destroyed, the
               21 Receiving Party must submit a written certification to the Producing Party (and, if
               22 not the same person or entity, to the Designating Party) by the 60 day deadline that
               23 (1) identifies (by category, where appropriate) all the Protected Material that was
               24 returned or destroyed and (2)affirms that the Receiving Party has not retained any
               25 copies, abstracts, compilations, summaries or any other format reproducing or
               26 capturing any of the Protected Material. Notwithstanding this provision, Counsel
               27 are entitled to retain an archival copy of all documents produced by either party in
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                                                 STIPULATED PROTECTIVE ORDER
                    12518794.2
Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 15 of 16 Page ID #:420
         Case 2:20-cv-04562-GW-SK Document 21 Filed 10/15/20 Page 16 of 16 Page ID #:421



                1                                      EXHIBIT A
                2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                3 I, __________________________________________ [print or type full name], of
                4 __________________ [print or type full address], declare under penalty of perjury
                5 that I have read in its entirety and understand the Stipulated Protective Order that
                6 was issued by the United States District Court for the Central District of California
                7 on [date] in the case of ________________ [insert formal name of the case and
                8 the number and initials assigned to it by the court]. I agree to comply with and
                9 to be bound by all the terms of this Stipulated Protective Order and I understand
               10 and acknowledge that failure to so comply could expose me to sanctions and
               11 punishment in the nature of contempt. I solemnly promise that I will not disclose in
               12 any manner any information or item that is subject to this Stipulated Protective
               13 Order to any person or entity except in strict compliance with the provisions of this
               14 Order.
               15 I further agree to submit to the jurisdiction of the United States District Court for
               16 the Central District of California for the purpose of enforcing the terms of this
               17 Stipulated Protective Order, even if such enforcement proceedings occur after
               18 termination of this action. I hereby appoint_________________________ [print
               19 or type full name] of _____________________________________[print or type
               20 full address and telephone number] as my California agent for service of process in
               21 connection with this action or any proceedings related to enforcement of this
               22 Stipulated Protective Order.
               23 Date: ___________________________
               24 City and State where sworn and signed: ___________________________
               25 Printed name: ______________________________
               26 Signature: _________________________________
               27
  Mitchell     28
Silberberg &
 Knupp LLP
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                                              STIPULATED PROTECTIVE ORDER
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